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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


MICHAEL LASALVIA on behalf of himself
and all other similarly situated,                    Case No.

Plaintiff,

v.

RUSSELL R. WASENDORF, SR., RUSSELL
R. WASENDORF, JR., BRENDA L.
CUYPERS and SUSAN MARY O’MEARA,                                                      :
                                                                :
                          Defendants


                                 CLASS ACTION COMPLAINT

        Plaintiff Michael LaSalvia ("Plaintiff"), on behalf of himself and of all others similarly

situated, by their undersigned attorneys, for his Complaint against the above-named defendants

("Defendants"), upon knowledge as to matters relating to themselves and upon information and

belief as to all other matters, allege as follows:

                                  JURISDICTION AND VENUE

         1.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1337 and 7 U.S.C. § 1 et seq.     Venue is proper under 28 U.S.C. § 1391(a) and (b) and 7 U.S.C.

§ 25( c), because a substantial part of the events or omissions giving rise to the claim occurred in

this District.
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                               SIGNIFICANT NONPARTY

          2.   Significant nonparty Peregrine Financial Group, Inc. (“PFG") is a

financial derivatives broker. PFG's headquarters is located in this District at 311 South

Monroe Street, Suite 1300 Chicago, IL. PFG was registered as a futures commission

merchant ("FCM") with the CFTC at relevant times and was a member of the Chicago

Mercantile Exchange ("CME") at relevant times. PFG is protected by the bankruptcy

stay set forth at Section 362 of the U.S. Bankruptcy Code by virtue of the fact that it is

the subject of a bankruptcy petition pursuant to Chapter 7 of the U.S. Bankruptcy Code.

See U.S. Bankruptcy Court for the Northern District of Illinois Dkt. No. 12-27488 (Filed

July 10, 2012). PFG has allegedly commingled customer funds with its own funds in

violation of applicable law. PFG participated in the course of conduct underlying this

action and defendants' violations of the Commodity Exchange Act ("CEA"), 7 U.S.C. § 1

et seq.

                                         PARTIES

      3.       Plaintiff Michael LaSalvia (“LaSalvia”) is a natural person residing in

Naperville, IL. LaSalvia maintained a customer account with PFG and believes that his

funds have been commingled with PFG's own funds in violation of applicable law.

          4.   Defendant Russell L. Wasendorf, Sr. (“Wasendorf”) was the Chief

Executive Officer of PFG at relevant times.

          5.    Defendant Russell L. Wasendorf, Jr. (“Wasendorf Jr.”) was the Chief

Executive Officer of PFG at relevant times.

          6.    Defendant Brenda L. Cuypers (“Cuypers”) was the Chief Financial




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Officer of PFG at relevant times.

       7.      Defendant Susan Mary O’Meara (“O’Meara”) was the Compliance

Director of PFG at relevant times.

       8.       Plaintiff alleges on information and belief that at relevant times an

unknown number of persons, referred to as Defendants John Does 1-5, inclusive, were

engaged in the commingling of customer funds with PFG's own funds in violation of

applicable law as alleged herein.

       9.      Plaintiff is presently unaware of the true names and identities of those

Defendants sued herein as John Does 1-5.

       10.     Any reference made to such Defendants by specific name or otherwise,

individually or plural, is also a reference to the actions of John Does 1-5, inclusive.

       11.     The acts alleged in this Complaint to have been committed by Defendants

were authorized, ordered, or done by their officers, agents, employees, or representatives,

while actively engaged in the management of each of the Defendants' affairs.

                              FACTS UNDERLYING THE ACTION

       12.     In 1974 Congress established the CFTC, a federal regulatory agency with

jurisdiction over futures trading. The same legislation authorized the creation of

"registered futures associations," giving the futures industry the opportunity to create a

nationwide self- regulatory organization.

       13.     The CFTC provides government oversight for the entire industry. Each

U.S. futures exchange operates as a self-regulatory organization, governing its floor

brokers, traders and member firms. NFA regulates every firm or individual who

conducts futures trading business with public customers.




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       14.       With certain exceptions, all persons and organizations that intend to do

business as futures professionals must register under the CEA. In addition, all

individuals and firms thatwish to conduct futures-related business with the public must

apply for NFA Membership or Associate status.

       15.       A "Futures Commission Merchant" (“FCM”) is defined as individuals,

associations, partnerships, corporations, and trusts that solicit or accept orders for the

purchase or sale of any commodity for future delivery on or subject to the rules of any

exchange and that accept payment from or extend credit to those whose orders are

accepted.

       16.       It is a bedrock principle of regulation that a FCM such as PFG is not

allowed to commingle funds held in customer accounts with its own funds in any

circumstances.

       17.       Specifically, CFTC General Regulations Under the Commodity Exchange

Act § 1.20 provides as follows:

       § 1.20 Customer funds to be segregated and separately accounted for.

       (a) All customer funds shall be separately accounted for and segregated as
       belonging to commodity or option customers. Such customer funds when
       deposited with any bank, trust company, clearing organization or another futures
       commission merchant shall be deposited under an account name which clearly
       identifies them as such and shows that they are segregated as required by the Act
       and this part. Each registrant shall obtain and retain in its files for the period
       provided in §1.31 a written acknowledgment from such bank, trust company,
       clearing organization, or futures commission merchant, that it was informed that
       the customer funds deposited therein are those of commodity or option customers
       and are being held in accordance with the provisions of the Act and this part:
       Provided, however, that an acknowledgment need not be obtained from a clearing
       organization that has adopted and submitted to the Commission rules that provide
       for the segregation as customer funds, in accordance with all relevant provisions
       of the Act and the rules and orders promulgated thereunder, of all funds held on
       behalf of customers. Under no circumstances shall any portion of customer funds
       be obligated to a clearing organization, any member of a contract market, a


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        futures commission merchant, or any depository except to purchase, margin,
        guarantee, secure, transfer, adjust or settle trades, contracts or commodity option
        transactions of commodity or option customers. No person, including any clearing
        organization or any depository, that has received customer funds for deposit in a
        segregated account, as provided in this section, may hold, dispose of, or use any
        such funds as belonging to any person other than the option or commodity
        customers of the futures commission merchant which deposited such funds.

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        c) Each futures commission merchant shall treat and deal with the customer funds
        of a commodity customer or of an option customer as belonging to such
        commodity or option customer. All customer funds shall be separately accounted
        for, and shall not be commingled with the money, securities or property of a
        futures commission merchant or of any other person, or be used to secure or
        guarantee the trades, contracts or commodity options, or to secure or extend the
        credit, of any person other than the one for whom the same are held: Provided,
        however, That customer funds treated as belonging to the commodity or option
        customers of a futures commission merchant may for convenience be commingled
        and deposited in the same account or accounts with any bank or trust company,
        with another person registered as a futures commission merchant, or with a
        clearing organization, and that such share thereof as in the normal course of
        business is necessary to purchase, margin, guarantee, secure, transfer, adjust, or
        settle the trades, contracts or commodity options of such commodity or option
        customers or resulting market positions, with the clearing organization or with
        any other person registered as a futures commission merchant, may be withdrawn
        and applied to such purposes, including the payment of premiums to option
        grantors, commissions, brokerage, interest, taxes, storage and other fees and
        charges, lawfully accruing in connection with such trades, contracts or commodity
        options: Provided, further, That customer funds may be invested in instruments
        described in §1.25.

        18.    The rules of the Chicago Mercantile Exchange (“CME”) similarly prohibit

commingling of customer funds with customer funds.

        19.    PFG, per defendants and/or John Does 1-5, has apparently violated these

bedrock principles and regulations and commingled customer funds with its own funds.

The CFTC has alleged that Wasendorf and PFG have failed to maintain adequate

customer funds in segregated accounts. That shortfall allegedly exceeds and has

exceeded $200 million. PFG and Wasendorf have allegedly used customer funds for



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purposes other than those intended by its customers, and have misappropriated these

funds. The whereabouts of the funds is currently unknown.

       20.     Additionally, during at least this same period, PFG and Wasendorf have

filed false reports with the CFTC regarding the amount of customer segregated funds

held by PFG.

       21.     The CFTC alleges that since at least February 2010, PFG and Wasendorf

have failed to maintain adequate customer funds in segregated accounts and have

misappropriated those customer funds for purposes other than intended by its customers.

The relevant PFG customer segregated account at U.S. Bank in Cedar Falls, Iowa is

Account No. XXXX1845 (“1845 Account”). In particular,

       a.      On or about February 28, 2010, PFG records showed a balance of
               approximately $207 million in the 1845 Account. PFG had received at
               least that amount from customers. However, the actual balance in the
               account was less than $10 million.

       b.      On or about March 30,201 1, PFG records showed a balance of
               approximately $31 8 million in the 1845 Account. PFG had received at
               least that amount from customers. However, the actual balance in the
               account was less than $10 million.

       c.      On or about July 9, 2012, PFG records showed a balance of approximately
               $225 million in the 1845 Account. PFG had received at least that amount
               from customers. However, the actual balance in the account was
               approximately $5 million.

       22.     Based on the foregoing, PFG, through defendants and/or John Does 1-5,

has violated Section 13 of the Commodity Exchange Act. Defendants are also liable for

such violations pursuant to Section 2(a)(1) of the Commodity Exchange Act. On

information and belief, Plaintiff has been injured by this violation because it has or is

likely to prevent Plaintiff from accessing his funds held in their PFG accounts and, in the




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event PFG is insolvent, will likely result in monetary harm to Plaintiff if PFG is unable to

repay the sums held in Plaintiff’s PFG accounts.

                                  CLASS ALLEGATIONS

         23.     Plaintiff brings this action as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure (“FRCP”).

         24.     The Class in this action (“Class”) consists of persons, other than

Defendants, their employees, affiliates and agents, who held money or other assets in

PFG customer accounts as of any time during the longest period allowed by the

applicable statutes of limitations, and in any event at least between January 1, 2010 and

July 10, 2012 (“Class Period”).

         25.     At least hundreds of persons are believed to be members of the putative

class (“Class”), and those persons or entities are geographically dispersed. Therefore,

joinder is impracticable pursuant to FRCP Rule 23(a)(1).

         26.    Common issues of fact or law predominate over individual issues within

the meaning of FRCP Rule 23(a)(2).

         27.     Common issues of law and fact include but are not limited to:

         (i)    whether PFG commingle funds held in customer accounts with its own

funds;

         (ii)   whether PFG and defendants violated the CEA;

         (iii) whether a constructive or actual trust should be impressed upon the ill-

gotten gains obtained by Defendants as fruits of their misconduct; and

         (iv)    the sum of Plaintiff’s and the Class’s damages.




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        28.    Plaintiff’s interests are typical of, and not antagonistic to the interests of,

the Class.

        29.    Plaintiff has retained competent counsel experienced with class actions and

commodities litigation and intend to vigorously prosecute this action.

        30.   Common issues predominate. A class action is superior to all other

methods for the fair and efficient adjudication of this controversy. Indeed, a class action

is the only method by which Plaintiff and the Class can efficiently seek redress and

obtain a uniform adjudication of their claims.

        31.     The size of individual damages is small in comparison to the complexity

and scope of the Defendants' alleged unlawful conduct.

        32.     Plaintiff do not anticipate any difficulties in the management of this

action as a class action.

                     AS AND FOR A FIRST CAUSE OF ACTION FOR
                  VIOLATION OF THE COMMODITY EXCHANGE ACT
                             SECTION 13(a)(1) and 13(a)(5)

        33.     Plaintiff incorporates and re-allege each of their previous allegations as

though fully set forth herein.

        34.     Section 13(a)(1) of the CEA makes it unlawful for any “person registered

or required to be registered under [the CEA] to embezzle, steal, purloin, or with criminal

intent to convert to such person’s use or to the use or another, any money securities or

property having a value in excess of $100, which was received by such person or any

employee or agent thereof to margin, guarantee or secure the trades or contracts of any

customer or accruing to such customer as the result of such trades or contracts, or which

otherwise was received from any customer, client or pool participant in connection with




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the business of such person. PFG was at relevant times registered as an FCM under the

CEA converting customer funds and/or commingling customer funds with PFG’s funds.

       35.     Section 13(a)(5) of the Commodities Exchange Act makes it unlawful for

any person to willfully violate any other section of the CEA or any regulation

promulgated thereunder. CFTC General Regulations Under the Commodity Exchange

Act § 1.20, reproduced at Paragraph 17, supra, is a regulation promulgated under the

CEA and prohibits any commingling of customer funds with funds of an FCM.

        36.    PFG, through defendants and/or John Does 1-5, has violated Section

13(a)(1) and/or Section 13(a)(5) of the Commodity Exchange Act by converting

customer funds and/or commingling customer funds with PFG’s funds.

        37.    Plaintiff and the Class are each entitled to actual damages for the

violations of the CEA alleged herein.

               AS AND FOR A SECOND CAUSE OF ACTION FOR
              VIOLATION OF THE COMMODITY EXCHANGE ACT
                             SECTION 2(a)(1)

        38.    Plaintiff incorporate and re-allege each of their previous allegations as

though fully set forth herein.

        39.    PFG, through Wasendorf, the other defendants, and/or John Does 1-5, has

violated Section 13(a)(1) and/or Section 13(a)(5) of the Commodity Exchange Act by

converting customer funds and/or commingling customer funds with PFG’s funds.

        40.    PFG, per defendants and/or John Does 1-5, was/were acting for and/or

as agent(s) of PFG and Wasendorf Jr., Cuypers and O’Meara. Under Section 2(a)(1)(B)

of the CEA, 7 U.S.C. §2(a)(1)(B), such defendants are liable for the acts of their agents or

another person acting for them.




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        41.      Plaintiff and the Class are each entitled to actual damages for the

violations of the CEA alleged herein.

                                      JURY DEMAND

       42.       Plaintiff demands a trial by jury.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment:

                 (a)    Ordering that this action proceed as a class action as to all claims

previously alleged;

                 (b)    awarding money damages, including prejudgment interest, on each

claim in an amount to be established at trial;

                 (c)     awarding statutory attorneys' fees and costs, and other relief;

                 (d)    impressing a trust on the ill-gotten gains of defendants in the

ultimate res of which each Class member shall have an undivided interest;

                 (e)    directing further proceedings to determine the distribution of the

       trust among Class members, inter se, and award attorneys' fees and expenses to

       Plaintiffs’ counsel; and

                 (f)    granting such other relief as to this Court may seem just and

       proper.




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Dated: July 13, 2012
                                     SALAS WANG LLC

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